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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------X
 UNITED STATES OF AMERICA          :
                                   :
                                   :          BOND MODIFICATION ORDER
          - v -                    :
                                   :          23 Cr. 13 (NRM)
 TYLER JOHNSTON,                   :
                                   :
                   Defendant.      :
 ----------------------------------X

 Nina Morrison, United States District Judge.

       It is hereby ORDERED that the January 25, 2023 Order

 Setting Conditions of Release be modified as follows:

    (1) The defendant may reside in a residence pre-approved by
        Pretrial Services in Sunnyvale, Texas; Oklahoma; or
        Arkansas, and must remain in and may not leave those
        areas without Court permission, with the exception of
        travel to and from this Court and the permitted areas.

    (2) The defendant is precluded from                                on
        his family’s farm, located at 1
        Muldrow, Oklahoma 74948.


 All other previously imposed conditions of release will

 remain in place.


 Dated:    Brooklyn, New York        SO ORDERED.
           September ___,
                     26   2023
                                     _______________________________
                                     /s/ NRM
                                     HONORABLE NINA R. MORRISON
                                     UNITED STATES DISTRICT JUDGE
